
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-381-CR





LESLIE JAMES FERGUSON	 						APPELLANT



V.

THE STATE OF TEXAS	STATE

----------

FROM COUNTY CRIMINAL
 COURT NO. 1 OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant's “Motion To Dismiss Appeal.” &nbsp;The motion substantially complies with rule 42.2(a) of the rules of appellate procedure, so we will treat it as a motion to withdraw appellant’s notice of appeal. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f).

PER CURIAM

PANEL D:	WALKER, J.; CAYCE, C.J.; and MCCOY, J.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: December 8, 2005

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




